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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF KANSAS



 STATE OF ALASKA, et al.,

                              Plaintiffs,               Case No. 24-1057-DDC-ADM

 v.

 UNITED STATES DEPARTMENT OF
 EDUCATION, et al.,

                              Defendants.



                                  PRELIMINARY INJUNCTION

        IT IS THEREFORE ORDERED BY THE COURT THAT defendants United States

Department of Education and United States Secretary of Education Miguel Cardona, and their

agents, employees, and attorneys, are enjoined from implementing or acting pursuant to the parts

of Final Rule—promulgated by the Department of Education titled “Improving Income Driven

Repayment for the William D. Ford Federal Direct Loan Program and the Federal Family

Education Loan (FFEL) Program,” 88 Fed. Reg. 43,820—set to become effective on July 1,

2024.

        IT IS SO ORDERED.

        Dated this 24th day of June, 2024, at Kansas City, Kansas.

                                                   s/ Daniel D. Crabtree
                                                   Daniel D. Crabtree
                                                   United States District Judge
